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 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                             FOR THE DISTRICT OF ARIZONA
10
11   United States of America,                       Case No. 2:19-cr-00898-DLR
12                      Plaintiff,                   DEFENDANT’S MOTION TO
13                                                   STRIKE THE GOVERNMENTS
           vs.                                       SUPPLEMENTAL RESPONSE TO
14                                                   THE RULE 29 AND 33 MOTIONS
     David Allen Harbour,
15
                        Defendant.                   (Oral Argument Requested)
16
17
           Defendant David Allen Harbour, by and through his attorneys, submits this
18
     Motion to Strike the Governments Supplemental Response to the Defendant’s Renewed
19
20   Rule 29 and 33 Motion filed on June 23, 2023.

21                                     BACKGROUND
22
           As of the time of the filing of this Motion, the Court had acquitted Defendant of
23
     Counts III, XXI, XXII, and XXXIII. Doc. 757. The government filed its supplemental
24
25   response with exhibits to the Defendant’s Rule 29 motion prior to Doc. 757, on June 23,

26   2023. See Doc. 754. In that “supplement,” the government sought to address a single
27
     issue, which is Princeton Alternative Income Fund (“PAIF”), which was the totality of
28
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 1   this Courts recent acquittal. Despite the acquittal, a brief response from the Defendant is
 2   required to preserve the record and to keep the Court informed, honestly, as to the state of
 3
     affairs, given that the supplemental pleading is, like much if not most of the
 4
 5   government’s filings, loaded with misrepresentations.

 6          In its supplement, the government attached Exhibit B, which is a string of emails
 7   from PAIF representatives to the government and an attached spreadsheet allegedly
 8
     submitted by PAIF. The submission of this email and document was a last-gasp attempt
 9
     borne out of obvious desperation to thwart what the government had every reason to
10
11   believe was the Court’s likely dismissal of the largest dollar-volume set of claims.
12          Deliberately, with actual knowledge both of the underlying impropriety of foisting
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     on any Court new materials never presented to the jury in post-trial motions but also of
14
     the Court’s specific order to the prosecutor to not argue anything that was not contained
15
16   in the evidence submitted to the jury, the government sought to back-door “new
17   evidence” into the record that had never been presented to the jury. See TT. June 6, 2023
18
     pg. 44-45.
19
            Exhibit B is a package of materials presented to the Court’s presentence writer by
20
21   PAIF for use in sentencing. It is misleading, at best, except where it is not completely
22   false. The temptation is great to take it on, here, piece by piece. After all, having so
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     flagrantly breached its duties as the “minister of Justice,” as well as this Court’s direct
24
     order, the government would hardly be in any position to criticize the Defense for
25
26   responding in kind. But, the Court could rightly be critical and we want the Court to have

27   the clearest of fields to address the government’s tactics.
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                                                   2
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 1            Leave it at this: Sadly, the prosecutor has been completely hoodwinked by PAIF,
 2   just as the government was hoodwinked by Bart Shea. This occurred because the
 3
     government’s obsession over the Defendant has replaced good sense.
 4
 5            Motions to strike are governed by LRCrim 12.1, which incorporates the local civil

 6   rules 7.1 and 7.2. LRCiv 7.2(m) in turn governs motions to strike. First, the supplement
 7   should be stricken as it is now moot with the Court’s ruling to acquit the PAIF counts.
 8
     Second, the supplement also argues evidence that is outside of the evidence presented at
 9
     trial. In the event the Court is not inclined to strike the supplement, Defendant asks that
10
11   the Court invite a substantive response to the supplement.
12                                         ARGUMENT
13
     I.       The government’s supplement is an improper argument and must be stricken.
14
              First, it is unclear from what source the government conjured the right to
15
16   supplement its filed response to the Rule 29 and Rule 33 post-trial motions. There is no
17   rule that permits supplements without leave. Nor do we see that the government lodged
18
     the pleading along with a motion to permit its filing.
19
              More importantly, this Court was explicit – no evidence from outside of the trial
20
21   was to be argued by the government. See TT. June 6, 2023 pg. 44-45. Yet, knowing it
22   could not do so, the government submitted a new exhibit containing new financial
23
     records and statements from PAIF representatives (who had been sued for racketeering
24
     by the United States (of America) Trustee in the PAIF Chapter 11 and who have now
25
26   been sued by the United States (of America) Securities and Exchange Commission. It is

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28

                                                  3
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 1   indeed noteworthy that the United States (of America) Attorney has sided with PAIF
 2   against the positions of other agencies of the same United States of America.
 3
           The issue with this evidence could not be plainer; the government seeks to
 4
 5   supplement what was, and this Court has now found, insufficient evidence to sustain a

 6   conviction on the PAIF Counts. The government’s supplemental response must be
 7   stricken due to the incredibly prejudicial nature of the government’s actions, improper
 8
     argument by attempting to circumvent the jury process, and another fatal variance by the
 9
     government. See United States v. Ward, 747 F.3d 1184, 1189 (9th Cir. 2014) (quoting
10
11   United States v. Von Stoll, 726 F.2d 584, 586 (9th Cir. 1984)); United States v. Morse,
12   785 F.2d 771, 775 (9th Cir. 1986).
13
                                          CONCLUSION
14
           The government’s unauthorized supplemental response is moot, as this Court has
15
16   already acquitted the defendant based upon a series of grounds. More importantly, the
17   government’s supplemental response seeks to have the Court consider hearsay that was
18
     not introduced at trial. In the alternative, Defendant respectfully requests leave to
19
     substantively respond to the supplement and to its Exhibit B.
20
21         RESPECTFULLY SUBMITTED this 30th day of June 2023.
22                                         CHRISTIAN DICHTER & SLUGA, P.C.
23
24                                         By: /s/ Stephen M. Dichter
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27                                             Attorneys for Defendant David A. Harbour
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 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on June 30, 2023, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF system for filing and for transmittal
     of Notice of Electronic Filing to the following CM/ECF registrants:
 4
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10
11   /s/ Yvonne Canez
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